              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:07CR123-6


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )              ORDER
                                                  )
KERRY LEE COMER,                                  )
                                                  )
                 Defendant.                       )
__________________________________                )


       THIS CAUSE coming on to be heard before the undersigned, pursuant to a motion

filed by Lawrence W. Crane, “Motion for Admission Pro Hac Vice” (#50). In the motion,

Mr. Crane request permission of the court to be admitted pro hac vice to represent the

defendant, Kerry Lee Comer. Upon a review of the motion and Local Rule 44.1, it appears

that Mr. Crane’s motion would be more appropriately a request for admission as a “special

admission” as provided by LCrR 44.1(B)(4)(c). The undersigned reviewed the rule with Mr.

Crane and directed that Mr. Crane prepare and file a motion, pursuant to the appropriate local

rule for “special admission”.

                                          ORDER

       WHEREFORE, IT IS ORDERED that the motion of Mr. Crane entitled “Motion for

Admission Pro Hac Vice” (#50) is hereby DENIED without prejudice.




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                               Signed: January 8, 2008




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